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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

  ANNA ALMERICO, CHELSEA
  GAONALINCOLN,                                   Case No. 1:18-cv-00239-BLW
  MICAELA AKASHA DE
  LOYOLA-CARKIN and HANNAY                        MEMORANDUM DECISION AND
  SHARP,                                          ORDER


         Plaintiffs,

          v.

  LAWERENCE DENNEY, as Idaho
  Secretary of State in his official capacity,
  LAWRENCE WASDEN, as Idaho Attorney
  General in his official capacity, RUSSELL
  BARRON, as Director of the Idaho
  Department of Health and Welfare in his
  official capacity and THE STATE OF
  IDAHO,

         Defendants.



                                     INTRODUCTION

       Idaho Code § 39-4510 provides that all healthcare directives executed by women

in Idaho must contain the following provision: “[i]f I have been diagnosed as pregnant,

this Directive shall have no force during the course of my pregnancy.” The Court must

resolve two interrelated questions in deciding Defendants’ Motion to Dismiss. Dkt. 17.

First, does the test for facial constitutional challenges outlined by the Supreme Court’s

decision in United States v. Salerno, 481 U.S. 739 (1987) apply to the case at bar?

Second, if Salerno applies, is there a set of circumstances in which IC § 39-4510 can be


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applied in a manner that comports with the Due Process and Equal Protection Clauses of

the United States Constitution? Because the Court concludes that the answer to both

questions is yes, it will grant Defendants’ Motion to Dismiss, but with leave to amend to

assert an as-applied challenge. In granting leave to amend, the Court does not encourage

or discourage such a filing, and does not offer an opinion as to whether such a challenge

can be successfully stated by an existing plaintiff.

                                          BACKGROUND

        Idaho’s Medical Consent and Natural Death Act, Idaho Code §§ 39-

4501 et seq., “recognize[s] the right of a competent person to have his or her wishes for

medical treatment and for the withdrawal of artificial life-sustaining procedures carried

out even though that person is no longer able to communicate with the health care

provider.” I.C. § 39-4509(2). The Act accomplishes this goal, in part, by providing a

model “Living Will and Durable Power of Attorney for Health Care” forms (combined,

the “Model Form”), that Idaho citizens may fill out. I.C. § 39-4510.

        The Model Form is available for download on the Idaho Secretary of State’s

health care directory registry webpage.1 Although Idaho citizens are not required to use

the Model Form, in order for an Idaho citizen to register their Living Will and Durable



        1
           Idaho Secretary of State, Health Care Directive Registry, https://sos.idaho.gov/hcdr/index.html
(last visited March 27, 2019). Additionally, Plaintiffs’ Complaint alleges that the Model Form was also
available on the websites of the State of Idaho Office of the Attorney General and the Idaho Department
of Health and Welfare. Complaint, Dtk. 1 at ¶¶ 29, 30. Although the web-addresses provided in the
Complaint no longer contain the Model Form, at the motion to dismiss phase the Court will assume the
truth of Plaintiffs’ allegations with respect to the availability of the Model Form.



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Power of Attorney for Health Care with the Idaho Secretary of State, the document

submitted must be “substantially … [similar to, or] contain[] the elements set forth”

(hereinafter, the “Incorporation Clause”) in the Model Form. I.C. § 39-4510(1). A health

care directive that fails to meet this requirement will not be registered by the Idaho

Secretary of State. I.C. § 39-4510(2). But, the statute also provides that “[f]ailure to

register the health care directive shall not affect the validity of the health care directive.”

I.C. § 39-4510(2). Obviously, this provision of the Act raises some question about

whether a non-compliant, unregistered health care directive would be enforceable.

However, for purposes of the pending motion, the Court will assume that it would not.2

        This litigation stems from a single provision in the Model Form stating that “[i]f I

have been diagnosed as pregnant, this Directive3 shall have no force during the course of



        2
          During the hearing in this matter on January 16, 2019, the Court engaged in an extended
discussion with Counsel for both Parties over how the statute operates. In particular, the Parties
acknowledged that there is ambiguity in the statute with respect to whether a woman with a healthcare
directive that does not contain the Pregnancy Exclusion could, nevertheless, have her directive followed
and her life terminated if she was both pregnant and incapacitated. Counsel for Defendants conceded that
at this phase of the litigation, the Court should evaluate the constitutionality of the statute with the
background assumption that a pregnant woman with a healthcare directive that does not contain the
Pregnancy Exclusion would not have her care terminated in accordance with the express wishes of her
healthcare directive. This interpretation of the statute accords with the interpretation of the statute put
forth by the Idaho Secretary of State, the State of Idaho Office of the Attorney General, and the Idaho
Department of Health and Welfare. The Court will proceed on the basis of this assumption but notes that
the assumed interpretation is in no way binding on these or future litigants. That issue remains for
another day.
        3
          “Directive” is defined by the statute as “a document that substantially meets the requirements of
section 39-4510(1), Idaho Code, or is a ‘Physician Orders for Scope of Treatment’ (POST) form or is
another document which represents a competent person’s authentic expression of such person’s wishes
concerning his or her health care.” I.C. § 39-4502(8).

(Continued)



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my pregnancy” (hereinafter, the “Pregnancy Exclusion”). I.C. § 39-4510. As discussed

above, due to the Incorporation Clause, this provision is a necessary component of all

health care directives in Idaho. The Idaho Secretary of State, in apparent reliance on the

Pregnancy Exclusion, has issued the following guidance regarding health care directives

on its “Frequently Asked Questions” webpage:

                [Question] 13. What happens if I am pregnant when I become
                incapacitated?

                [Answer:] Life sustaining measures will continue regardless of any
                directive to the contrary until the pregnancy is complete.4

        Finally, if an individual (1) does not have an executed version of the Model Form

or a document that satisfies the Incorporation Clause and (2) cannot consent to care due

to age or health, then the Idaho Code provides that a “surrogate decision maker” may

make health care decisions for the individual. I.C. § 39-4504(1). The “surrogate decision

maker[’s]” authority to consent to treatment on behalf of an individual is limited by

statute in the following ways: “the surrogate decision maker shall not have authority to

consent to or refuse health care contrary to such person’s advance directives, POST or




        4
          Idaho Secretary of State, Health Care Directive Registry – Frequently Asked Questions,
https://sos.idaho.gov/hcdr/faq.html (last visited March 27, 2019). Additionally, Plaintiffs’ Complaint
alleges that similar language was also available on the websites of the State of Idaho Office of the
Attorney General and the Idaho Department of Health and Welfare. Complaint, Dtk. 1 at ¶¶ 29, 30.
Although the web-addresses provide in the Complaint no longer contain similar language, at the motion
to dismiss phase the Court will assume the truth of Plaintiffs’ allegations with respect to the presence of
similar language.



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wishes expressed by such person while the person was capable of consenting to his or her

own health care.” Id.

                                        ANALYSIS

       1.     Salerno Applies to Plaintiffs’ Challenge

                  A. Salerno’s “No Set of Circumstances” Test

       The pivotal question here is whether Plaintiffs’ facial challenge to the statute is

governed by the Supreme Court’s decision in Salerno. In Salerno, the Supreme Court

stated that facially challenging a statute is “the most difficult challenge to mount

successfully.” 481 U.S. at 745. To prevail on a facial challenge to the constitutionality

of a statute, a litigant must satisfy the heavy burden of showing that “no set of

circumstances exist[] under which the [a]ct would be valid.” Id. It is not enough to show

that an act “might operate unconstitutionally under some conceivable set of

circumstances.” Id. Facial challenges are “disfavored” because they (1) “raise the risk of

premature interpretation of statutes on factually barebone records,” (2) “run contrary to

the principle of judicial restraint,” and (3) “threaten to short circuit the democratic

process by preventing laws embodying the will of the people from being implemented in

a manner consistent with the Constitution.” Washington State Grange v. Washington

State Republican Party, 552 U.S. 442, 451 (2008) (internal citations and quotations

omitted).

                  B. Debate Regarding the Validity of Salerno




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       Salerno’s “no set of circumstances” test is the subject of considerable controversy.

As Plaintiffs are quick to point out, Dkt. 26 at 10-11, a faction of Justices on the Court

has regularly called into question the wisdom of Salerno. See, e.g., City of Chicago v.

Morales, 527 U.S. 41, 55 n.22 (1999) (Stevens, J., with two Justices concurring)

(criticizing Salerno and labelling its “no set of circumstances” test as dicta). However,

another faction has consistently reaffirmed that Salerno is the appropriate test for nearly

all facial challenges. See Planned Parenthood of S. Arizona v. Lawall, 180 F.3d 1022,

1026 (9th Cir.), opinion amended on denial of reh’g, 193 F.3d 1042 (9th Cir. 1999)

(discussing the schism that exists among the Supreme Court justices).

                  C. The Development of Exceptions to Salerno

       Unsurprisingly, exceptions have developed to Salerno’s “no set of circumstances”

test. First, Salerno does not apply to facial challenges to statutes under the First

Amendment. Id. at 1026. Second, the Supreme Court in Planned Parenthood of

Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992) appeared to conclude that

Salerno’s “no set of circumstances” test does not apply to “undue burden” challenges to

statutes regulating abortion. See Lawall, 193 F.3d at 1027 (concluding that Casey

“overruled Salerno in the context of facial challenges to abortion statutes”). Pursuant to

the Supreme Court’s decision in Casey, plaintiffs can mount a successful facial challenge

to an abortion statute, but only if they can show that the statute imposes an undue burden

on the right to an abortion “in a large fraction of cases.” Casey, 505 U.S. at 895; see also




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S.D. Myers, Inc. v. City & Cty. of San Francisco, 253 F.3d 461, 467 (9th Cir. 2001)

(discussing Casey’s “large fraction” test).

                 D. Plaintiffs’ Challenge Does Not Fall Within the Casey Exception to
                    Salerno

       Plaintiffs first argue that Casey’s “large fraction” test, rather than Salerno’s “no

set of circumstances” test, should apply to their challenge to the Pregnancy Exclusion.

According to Plaintiffs, the Pregnancy Exclusion limits a woman’s ability to terminate

her own life, and, by extension, the life of her unborn child. Dkt. 26 at 10-11. Thus, in

Plaintiffs’ view, the Pregnancy Exclusion is an abortion statute subject to analysis under

Casey. Dkt. 26 at 4.

       There are a number of problems with Plaintiffs’ suggestion that we treat the

Pregnancy Exclusion as simply a statute regulating abortion. First, Plaintiffs

acknowledged in their opposition to Defendants’ Motion to Dismiss that “[t]he

Pregnancy exclusion does not concern abortion rights, but the right to be free of forced

intrusions by the state into one’s bodily integrity.” Dkt. 26 at 4 (emphasis added).

Second, the language of the Act simply does not regulate abortion procedures. Third,

Plaintiffs fail to point the Court towards any precedent applying Casey’s “large fraction”

test to statutes containing provisions similar to the Pregnancy Exclusion.

                 E. Absent Instruction from the Supreme Court or the Ninth Circuit,
                    the Court Will Not Create a New Exception to Salerno

       Plaintiffs appear to be urging the Court to create a new exception to Salerno’s “no

set of circumstances” test. Plaintiffs cite United States v. Sampson as an example of a



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federal district court departing from Salerno and applying Casey’s “large fraction” test to

a statute not involving abortion regulations. 275 F. Supp. 2d 49, 58 (D. Mass 2003). In

Sampson, the court evaluated an Eighth Amendment facial challenge to the Federal Death

Penalty Act. Id. The court declined to apply Salerno and, in doing so, wrote that

Salerno’s “no set of circumstances” test:

        would require that the statute be upheld unless it would be unconstitutional as
        applied to everyone. Thus, under the Salerno dicta the FDPA would be
        constitutional if 99 times out of 100 it resulted in the execution of an innocent
        individual because there would be one case in which a guilty person would be
        executed. However, a statute that resulted in the execution of actually innocent
        individuals in 99% of all cases undoubtedly would be deemed to impose cruel and
        unusual punishment.

Id. Respectfully, Sampson’s reasoning is questionable. First, Salerno does not require

that 99 innocent citizens be executed if the government can show that one individual can

be executed constitutionally. Sampson ignores the crucial fact that each of the 99

innocent citizens would be entitled to bring an as-applied challenge to the statute.5

Second, though members of the Supreme Court continue to debate whether Salerno’s “no

set of circumstances” test is dicta or part of the case’s holding, the test has

unquestionably been incorporated into the holdings of binding case law from the United

States Court of Appeals for the First Circuit, Comfort v. Lynn Sch. Comm., 418 F.3d 1, 12

(1st Cir. 2005) (en banc), abrogated on other grounds by Parents Involved in Cmty. Sch.




        5
        The Court notes that Plaintiffs in this case are entitled to bring as-applied challenges to the
Pregnancy Exclusion. As will be discussed below, the Court is willing to entertain a motion to amend the
complaint to make this an as-applied challenge on behalf of an existing plaintiff.



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v. Seattle Sch. Dist. No. 1, 551 U.S. 701 (2007), and, more importantly for this Court’s

purpose, binding case law from the Ninth Circuit, see, e.g., S.D. Myers, Inc., 253 F.3d at

467.

       Ninth Circuit case law does not support the creation of a new exception to Salerno

in this case. Time and again, plaintiffs have attempted to escape the effect of the Salerno

standard, only to see their path foreclosed by the Ninth Circuit. For example, in Tucson

Woman’s Clinic v. Eden, 379 F.3d 531, 539 (9th Cir. 2004) (C.J., Thomas), plaintiffs

argued that Salerno did not apply to their Due Process and Equal Protection challenges to

several Arizona statutes that imposed licensing requirements on abortion providers

because “abortion rights … [were] involved.” Chief Judge Sidney Thomas, writing for

the panel, stated unequivocally:

       That abortion rights are involved does not alter th[e] rule [that Salerno applies
       rather than Casey]. Indeed, it is difficult to even articulate what application of the
       Casey standard to claims other than the undue burden claims would entail.
       Therefore, we apply the Salerno standard to all of plaintiffs’ claims except their
       undue burden claim.

Id. Tucson Woman’s Clinic is just one in a series of Ninth Circuit cases that reach this

result. See, e.g., S.D. Meyers, 253 F.3d at 467 (“While we have held that Casey

overruled Salerno in the context of facial challenges to abortion statutes …, we will not

reject Salerno in other contexts until a majority of the Supreme Court clearly directs us to

do so.” (emphasis added) (internal citation omitted)); Hotel & Motel Ass’n of Oakland v.

City of Oakland, 344 F.3d 959, 971-72 (9th Cir. 2003) (rejecting plaintiff’s attempt to




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apply Casey to their void-for-vagueness challenge). The clarity of this line of authority

forecloses Plaintiffs’ argument for an exception to Salerno.6

        2.      Circumstances Exist Under Which the Pregnancy Exclusion Can Be
                Constitutionally Applied

        Given that Salerno applies, with no exception available to Plaintiffs, the final

question is whether there is a set of circumstances in which the Pregnancy Exclusion can

be applied in a constitutionally acceptable manner. The Court finds that such

circumstances exist.

                a. A Potential Set of Circumstances Exists Under Which the State of
                   Idaho May Limit a Woman’s Ability to Prospectively Dictate Her
                   Healthcare Choices

        As an initial matter, the Court notes that state laws limiting a pregnant woman’s

ability to prospectively dictate her healthcare choices are not rare. As of the Spring of

2018, thirty-four states had laws “either mandat[ing] that a pregnant woman’s advance

directive be disregarded entirely due to her pregnancy or require[ing] a woman to take

some further affirmative step beyond creating an advance directive in order for her

wishes to be carried out.” Nikolas Youngsmith, The Muddled Milieu of Pregnancy




        6
          I reach this conclusion with serious reservations. Analytically, it is difficult to see why the
undue burden exception created by Casey should not apply to the Pregnancy Exclusion. I find no
meaningful difference between a restriction on a woman’s right to dictate, in advance, the end-of-life
medical care she will receive if pregnant and a woman’s right to choose, contemporaneously, between
having an abortion or giving birth. It necessarily follows that the Supreme Court’s modified view of the
requirements for a facial challenge to an abortion statute, should apply here. If I were writing on a clean
slate, I would so hold. But, the case law of the Circuit is clear and unyielding. It is my duty to follow
that precedent.



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Exceptions and Abortion Restrictions, 49 COLUM. HUM. RTS. L. REV. 415, 424 (2018).

Though this fact does not, of course, answer the question of whether such laws are

constitutional, it is nevertheless true that a majority of state legislatures have seen fit to

pass laws that are at least nominally similar to Idaho’s Pregnancy Exclusion.

       Even though at least thirty-four states have laws limiting a pregnant woman’s

ability to prospectively dictate their healthcare choices, Plaintiffs fail to point the Court to

a single case in which a law similar to Idaho’s Pregnancy Exclusion has been struck

down pursuant to a facial challenge. Plaintiffs cite a series of cases in which courts have

wrestled with the question of whether, in essence, it was appropriate for the state to

dictate the healthcare choices of one person in order to save the life of another. See, e.g.,

In re A.C., 573 A. 2d 1235, 1244 (D.C. App. 1990) (reversing a trial court’s order

granting a petition from a doctor to perform a cesarean section on a terminally ill patient

despite the patient’s express decision to decline the cesarean section). But, those cases

provide no support for the proposition that Idaho’s Pregnancy Exclusion is

unconstitutional in all circumstances. Indeed, the very case on which Plaintiffs

principally rely, In re A.C., is all but fatal to their case; “[w]e do not quite foreclose the

possibility that a conflicting state interest may be so compelling that the patient’s wishes

must yield, but we anticipate that such cases will be extremely rare and truly

exceptional.” Id. at 1252.

              b. A Potential Set of Circumstances Exists Under Which the State of
                 Idaho Is Constitutionally Entitled to Dictate the Medical Care that a
                 Woman Receives



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       Plaintiffs make the conclusory allegation that “even under the Salerno standard”

there are no set of circumstances in which the State of Idaho may dictate the healthcare

choices of a pregnant woman. Dkt. 26 at 4-5. Pursuant to the Due Process Clause, the

Court must first identify the liberty interest at stake, and then “balance [the] liberty

interest[] against the relevant state interest.” Cruzan by Cruzan v. Dir., Missouri Dep’t of

Health, 497 U.S. 261, 279 (1990) (quoting Youngberg v. Romeo, 457 U.S. 307, 321

(1982)). Under the Equal Protection Clause, the Court is normally required to determine

the appropriate level of scrutiny to apply to a given law. Tucson Woman’s Clinic, 379

F.3d at 543. Depending on the level of scrutiny required, the Court then applies the

appropriate test. Id.

       Though Plaintiffs cite a number of cases in which federal and state courts have

struck down statutes that place limitations on an individual’s ability to make their own

healthcare choices, their argument fails to acknowledge that the Supreme Court in Casey,

Cruzan, and Washington v. Glucksberg, 521 U.S. 702 (1997) (to name a few cases) has

consistently held that there are certain circumstances in which a state’s interest is

sufficiently compelling to allow that state to, in effect, direct the care that the patient

receives. Those circumstances could be constitutionally applied here to restrict a

woman’s right to control her end-of-life medical care.

        In Casey, the Supreme Court reaffirmed its decision in Roe that “‘subsequent to

viability, the State in promoting its interest in the potentiality of human life may, if it

chooses, regulate, and even proscribe, abortion except where it is necessary, in



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appropriate medical judgment, for the preservation of the life or health of the mother.’”

Casey, 505 U.S. at 879 (quoting Roe v. Wade, 410 U.S. 113, 164-65 (1973)). In Cruzan,

the Supreme Court concluded that Missouri could, absent clear and convincing evidence

of a patient’s wish to terminate care, bar a patient’s close family members from issuing a

directive terminating that patient’s care. 497 U.S. at 286. Finally, in Washington v.

Glucksberg, the Supreme Court concluded that the plaintiff’s Due Process Rights were

not violated by a Washington state statute barring physician-assisted suicide. 521 U.S. at

735. Each of these cases stands in sharp relief to Plaintiffs’ claim that it is

unconstitutional in all circumstances for a state to dictate what healthcare an individual

will receive.

       The closest case that the Court has found to the case at bar is Pemberton v.

Tallahassee Mem. Regional Med. Ctr., Inc., 66 F. Supp. 2d 1247 (N.D. Fl. 1999). In

Pemberton, hospital staff determined that plaintiff faced a substantial risk of injury to

both herself and the child if she gave birth vaginally. Id. at 1249. As a result, they

sought plaintiff’s consent to perform a caesarean section. Id. Plaintiff refused. Id.

       Post refusal, the hospital obtained a court order requiring plaintiff to consent to a

caesarean section. Id. at 1249-50. The baby was delivered without complication, but

plaintiff nevertheless sued the hospital alleging a variety of substantive challenges under

the Constitution. The court, balancing the right of the state to protect a child’s life

against the invasion of the mother’s right to autonomy in making her health care

decisions, held that “state’s interest outweighed the mother’s.” Id. at 1252.



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       The same reasoning applies with equal force in this case. Simply put, there are

circumstances under which a pregnant woman’s right to autonomy in her health care

decisions can be circumscribed by the state’s right to protect a third party. Those

situations may very well be rare, but they exist. Under Salerno, that is all Defendants

must show.

                                      CONCLUSION

       Today’s decision is limited in scope. Plaintiffs have only pursued a facial

challenge to the Pregnancy Exclusion. This challenge is subject to Salerno’s “no set of

circumstances” test, which Plaintiffs have failed to meet. But, the Court hastens to add

that it has little difficulty imagining circumstances in which the Pregnancy Exclusion is

unconstitutional.

       Indeed, it is at least possible that one or more of the existing plaintiffs may be able

to make an as-applied challenge. The briefing in this case casts the constitutional injury

as occurring when a woman who is pregnant and incapacitated is, despite her express

wishes to the contrary, denied the right to forego further medical treatment. As the Court

pointed out during oral argument, the constitutional injury could, alternatively, be

described as occurring at the moment the state limits a woman’s right to prospectively

dictate the healthcare she receives in the event she becomes incapacitated. Under this

view a woman who has executed a healthcare directive which the state has indicated it

will not permit to be enforced, suffers an immediate constitutional injury which can be

redressed in an as-applied challenge to the statute. The Court does not offer any opinion



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as to whether such a view will prevail, but it would appear to be an approach worthy of

consideration – given the important constitutional rights at play here.

                                                ORDER

        IT IS ORDERED:

        1.      Defendants’ Motion to Dismiss (Dkt. 17) is GRANTED,7 with leave to

                amend. If no amended complaint is filed within 30 days, the case will be

                closed.



                                                         DATED: March 28, 2019


                                                         _________________________
                                                         B. Lynn Winmill
                                                         U.S. District Court Judge




        7
           Plaintiffs’ Amended Complaint contains allegations that certain components of Idaho’s
bureaucracy have acted ultra vires in their interpretation of the Pregnancy Exclusion. Dkt. 16 at ¶¶ 27-30.
Plaintiffs’ causes of action, despite containing incorporation by reference provisions, appear to focus
solely on the facial validity of the Pregnancy Exclusion as codified. Id. at ¶¶ 32-41. The Court’s
decision, in accordance with the Parties’ briefing, focuses solely on the facial challenge, and does not
evaluate Plaintiffs’ potential ultra vires claim. Plaintiffs are free to pursue this claim in an amended
complaint.



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